rll r-r-\
l'l|_l._.L)

CHARLOTTE1 NC
'IN 'c'H£-_' uN:L’n;D $mTEs Dls‘rn:.cT CaaR‘r '
pan we wEsTERr~/ Dls“mlc“r ol= NoRTH O+R¢>H~A MAR 8 2017
CHARMTT.E DIvI;;'.-¥.aN
c»cA--.s' - 1» .
5 b °' US Dlstrlct C_o'urt

 

 

 

 

 

 

 

 

 

Western District of NC
wAmr. PoN'cErz,
P&~H'Ha He¥"
Mo~rlo~' T» coRREar Tu.EGAL s£NTEN./_E
‘V§. F'up.su.m~r To FoRMER RuLE 35 Ca.)
R€¢$lPD!\cL‘J?'h
Mbgn¢ Por%ev,'. ' 'o 'n ¢` ` '5 `gn u.r m -l'o

 

.;;,,,WF Fc§, \Q, 23 ¢!.;M. p 35 ;Q,) T». ¢ mg §pp;zg§ 532 mt §M£enc¢$ impgse.(

 

 

far a#’e n<;¢:s ¢QMMFHQ_\=_ML€JQL¢.LMMMF_

351 671 QH'*‘* C,ir. looHL)i

 

Lz++:e, was sen+e»ce,r__i g?)r'¢'¢)v't +q +`he enac+mgm pp _q.),¢
qm'+e,l sides Sen-§¢n cmg G¢.u¢leunes, He, braug)-.+ ++\.5

 

mohan under former &,leml m o¥' firvaan Pr'oc€¢£grg
35 C_a.),wh¢‘ch is available +¢> inclwc'¢[u.q_ls who$¢’ ¢F-P-
cnse$' we_r‘e. wmw\f++€d. Pr'r`Or -Fv Navew\b¢v -'L, l‘l‘i>"?. Sc¢ \ [
um'+e¢; sm gs@' §mw»f cas F. 3c1 mai 115 Q+h dynng l
Tl»\q,f rule a_u¢we.l ah ir,A»'\/fauq| +o brlrgrg o. mo-Hon 'l'o
correct an illegal tiers-lange a.+ any fcmp.

 

 

, § .0.:1" 681 n.!L.

 

 

 

On Iu_l»}; l;|‘l',SJ-l'|. Pad;g[ L-_._BQS Sggignggza in Jd\e_ M;A¢i[g [2;'5;};3;|£` f of? F[g}f;dg CL.-\r

jacksonville C.n_SE’, m. ‘Bl-'Io-C_£-? 'J'-'M; »F`m' Cons|m`ra.c;/ ~I:Q impar+ rr‘\a-ri(juo_ha

in \/Fo|d'+'i€’n O'F ll Li.$.&.£§§?,_a&cl_€&c${lwr_y_‘b;_|:£&iesc wiHn inlen+ -\'a

cli$:h`i|»u.{~@_ ma,'rl:_lluanm in r/iola.~{»{on o-F' ll u.$,£. S~S*+d:)~"p|:/L_$ 11+ oHner Tela:%€gl

 

C@Mn+s B|l. 59'1+@»¢’\6€5 were Y`¢m conc;,wrenf'--H~¢ tong¢§# +erm being 10-\/€¢,»5
l
y

__ &f £éP§Q¢ML{LcL§LLBM_MMMMOA a-F` lt QL.$. c. z 84@. 5

 

 

 

 

(2.)

 

 

 

l " p __
On Nov€.M¢°.>e»-' él§l‘Z‘SS‘ w¢¢\¢{c Servir;§+ke 0 r‘ er\+erlce. Pv+e;r LQQ§ ix
Su]a$€ I..L ni' nv¢" en-{- o c.\. c_ r\s °\/e 'WS-Yea_r`$én-l*el?¢e

r ‘i s v.“ a ' ‘n re ' E+e»» '¢ `In
Vio\a:f'\"c)n of ll ¢LrS-C» § 3£3 !. CCE l`n¢l, P Y/S iar "

 

c@n;phm.a\rr conv¢`c,{'z`¢m from +hr=r Mi¢l.=l\¢ Dis+r£¢+ QF’ F{orf¢l¢ a,c, GL

'.: ¢. ,E%,r+er :L F. QQ!+*» cir.le'z)=

 

'1‘&».¢ c:n'M¢ charged in +he Ftpr€da. ind;,ctw\en-`k wa$ -H~F.'. last
042 +ha[c;._¢sm-¥-i\/\u.¢`na`] Ser:.e,§ o-P arms Fe_la;l-QA »I.-u drums en
which -H'¢e'. goverhv&er\+ relied 40 F\"vVE- "I"P\A'L' Pgr-{-ei" qua.?)e,é
in o., c@n+ihw,`na criminal emi-emrise, a,s cham¢d m
doan-§ '31+ ez-P -H\c’_ Prc§e,n‘i’ rr-lclbc,+mE.A-L'.

 

 

,, . '7 e a leaving exa\,v\¢P le :

Mr.c¢»g,bufv\. ' 'Tms can smch went u~P +hrpu.g»-. and Lm+.'£
-H\e 5 l r\-_ r 1 f
con 14 ¢s a_ pr_ed oca,i'e oPPm;e_ ungar- CCE. . . L\fe are. relying
en -H~x¥ c£nu£c_,h'g» g 5 ana Q'F'_-Eh.e_pned£mie o{'£m§es.

 

 

Cou.¥`{': HE. maps convicde O.F -HA;;§ 'P

 

Mv~ Caalau.rn' He came m and ward ¢]pwn'fb Uck§or\vd(e.\
and w-Hm+ei.v pleé m,¢iH-\/ in ;Bcksmu»`ble Flor»cla.,%!

 

 

 

 

fed
Accorcilngl);l Rvj+er has es+ablc'she¢| ~["I'w_+ -{+Le scm+e,nce -Fl»~r L..)l»-LC¢H c
f `on iS 'lo-\' was :§v‘ ¢E£e_n$e_§ ;l@,;(; we_[g: va‘:`,gg- 5|%! Cgmlam'f+g_¢{ l

Fr'£e~r 419 M¢W.Mber ill l’-?‘E'JF.

 

 
   

44444

¢m a
oncL inc§rpom+€cl herein b-{ F¢Rzr¢r\~ce as §§ibfi-A :1- p. "I.

 

3/€€’»€, TNC»\.L Tvn.n c_ l tS'LVlC'{“ t Ve[:..u»-» . 59
herein and 'Lnaor[mvzvl»ed hersch 57 fe¥'ere_r\c¢ 06 §§11§§ B; P,q,

 

 

 

1 l

 

 

 

 

C."O
Be.cau_<e,'H\& cl|;-Eb cf cglmf u_"l i~|r_\_€'. h§§§-l_v,v rn Dési£l.` cf QE§ M£H_x §§th @£ Pv_b_se;d-hdn

 

 

 

_ no -l»e.r‘ 11 ¢ n her e.LA .-_ fmb/rf
3 .
O(.=Le,‘r" ";)A¢+har’ -Hae, gear-k cn+eg\JeJ£ir )%Y`+U‘ +p serve -H»w.. 75-;./¢»0`¥ 435 C£E
sew{znce. rr or co s c 41' al ' nor - r $€h'l'ém'~€- -F¢`:f -HA€_

___§§1&6 cons § `.»\-`!1‘%£¢ LS

§ .c. ' 53 ca P¢r+ +§ne, rg_&_l:¢ Lm;@seé___"-_'

SEMFPe._v‘lc¢.$ Cc)§/LQ¢=U.LHV&L>/ :

    

 

NE-W ;choR//w'r:::on: bn N@vmb¢r 6,&‘?55, F?w§ev' r?:ce§`ved

CUI ad¢£¢h?>nq_"ii>zmp£enim¢:c. ~F‘mm +hz \Ale.s”-h:m D£s_%ri¢+

of bloqu Co.ratina,_."[`hl$ 5en+ence is a. 21-‘31¢-3-€¢,141)'1¢¢¢"3

 

 

 

 

 

 

hers P`,wr [:w YW'] sen{-¢nc»¢[ Br+ev‘ has o.+»-§u.£ of 7‘:¢` _i:
years.£’ §§
CS> ' . .
`T§'m: q`Secord// an \\ ' aff 5 ¥' CCE -§" 5 `I . 19

 

 

5%5¢¢;,911<:¢ in ~an. very "-F`¢`rs~l'” `UHe 11 unf%eJ ${QJQS_C`A:B&,_SMG.E_B££S_MALH__

 

 

pol|owinc\ 'H\e. crami?amghl'h_€_gzmpm wirtz HSLME= 11ng A§o@e. E£¢;Lg;{:an ang ghn+[¢»|
A<»,+ br m»w_ +s\e, ama has in …,. 4;:. us rsr-1 amva Ej;___
-\+m'j CQr€Y.-_’»¢A ¢:§,;A noi' M'§'horiz£ amula.~l-ive. S¢n-Pe.r\ces 40 be. t`)~§f)o.$§
__ §`=g, 54/_1;.¢¢,5:`»\/2 Lc>wsec,u;l»£@ns -F'@»- vf¢ia.+£ons 010 §§ 849 CCE and ?46= §

 

C,Or~,§‘;/:)§'YQ,CYI wh€r€ bo+§`\ V;O"

 

 

 

3 Qe.e, _ ' mi+m .-l‘ l'LO.-£ - Rv pol _
he:"c+p md moorpovn.+e_a herein by Ye+"¢vcnce as Ml pr_ lo-u .

 

lUSe.¢-. tian 54:1.1§€5 .Deparhge_n;f g we ¢~_g B;¢r§gk QP E¢ispn grqu R€PO\'+ -F¢`)r Mhyne, §
`Par+€r‘ a:l'£o.d\e¢l here=k>` md incor§um+€cl herein by r¢,F¢r-¢M¢, q; §!Hb;,{. pn,,'_ 13 famer ,.1 l

 

 

§

§____
(`.FIQP 3'8'~')-(‘|’-()0067-|?| \/ Dnr‘llmpnf 73 l:i|pr§ 0'2/09/;|__7 _F_>§nn 3 Of 14
§

 

 

\o.-§:ions appear a..$ a pgc-lp c>~F‘ +he_ game drug en+erpr»'se-,'poin€he¢wt +hq;£':

 

l ' o 1
'In +hcs co.,se.. . , »+ rs nms§a.r'y -+a decade whe+|ne*f.,.

 

 

Cangv€.$$ infen.l in allow g-M¢.leg'!g pm:‘shmm+ -Q,r
y,'ala,hon$' O-F` ii 346 ami 943. W€ §"MV€ C.ohdu.JeA +ha-+
l'+ ¢LLL `f\¢’+-

 

 

Ag -h\»’s J¢'Sc.:.l.sss'on' makes clear -Hne, r'e,a.s?rz rsr sewage
'pe,n¢a.LH?/S -F'pr conspira,a!é-S 1566 fn ‘Hf'¢e aAe[!~hdh,a.L
dangers Poseé by cancer-keel a.q,-d-ivi+y. Sec.£»¢n ‘31+‘6,

'r' $ \fub'+ ' ' o
‘-VM/»|-§r\e,re is lMle §€5§5§¢.+1'\/6 nees ~§'b '-Pu.r+'her -H-\l‘$_ -'
adm¢'++e.¢[lv impav+q/\+- £n+res+ by ami-lanzan canse¢u'h'\_ie

 

Pe.na.t+l'cs .F.»f=m 1H-m'. consp\'v'a.cy §+q:+u,+e[;].

 

CJ¢,LY Cor\::§lusc'an +ha.+ n ` § + l
ML¢+N€ Per\a.L-H¢s under 55 846 ama 3‘{~8 vs OF`nrlnor

 

Sl',¢_m¢'!»"¢'ca_r~.ce in +h,¢'s P_@r#calar an s¢:'.

 

 

 

§
In casel §+\& unf+e.=§ SL£¢,§ §HFEEM¢ QQH_.Y+ g@€gi[m§§ in glh@ce_nv,wd+§g §
s 0 . g

 

_ ‘{’e 44 2 \./{_
_M,QMMMMMQQMMQ§ -H~\g s£n+mc£n.jj m.u+-
a +C Y 6 Y\' ,£ b V~LV t ¢_,L|/\|- pdm `\"' »-p

C_Y‘§Im£naul con=§¢.LC,+ @A\Y 419 +he. ex-£en§= awhhor£z_e¢( by Cov\@n=s§ cmA -`H‘ui-'

 

`r'he. Double ‘JaoPo-f<.*-g C§<mse 0_+ -l+\e very legs+ Prealua era
+’»‘e.-.fe.m,t c.¢:)wr+s 43qu fm_wsr`na am§ecwhv¢ §en+e/\c¢s
meess authorized by Cp»§;§,ss +1> cLo <_=.0.

cm.=\+lmj'=

 

 

'IF aidle cour+ exceeds i+ on mx.+horii»,/ 197/imposing
Mul+i?le, Pu.v-L{sh no _ f ri C.`a r‘ s f+
v§o¢a+es nat only +he spech¢‘rc gmran+ee against A¢q_bl,¢

 

o `n 1 G-E' arcara-blm .

@.p gowerg in ch-n¢nm:r ~§'ha.f +re.ncl»\cs FQ-Y*i<=#v'°-Y\'y hmle
an mcl}vfrhm|' U§:\e.Y“£-YL

J-_é-l§¢€s us 0.~1- éeq,. §

 

The Co¢..o'-£~ fur-H'\e.r E»>C£OY`€.S'.Sl'/Vely gmde '§r'§na:§': "' aan€g'e.$'§ ll'S C§Ea\”§.}‘)'

 

'LL.
(`.FIQP Q'R'-'\-r‘r-OOOS?-R| \/ Dnr‘llmpnf 71 l:i|pr§ OQ/OR/'| 7 Dagn A nf '|A

 

 

 

 

J{'-`x:ee iv ~F`a»s high e)¢c¢p+i@ns -§rc ~Pna rule ¢'+ c.ho<e. +¢> e_mr»+.d. .Ebu:i~ +!Mi'] A

court J`L,Lst ma dme/lis not ”4-45 us af éq'S. Accov'¢lingl\L/l unless +he,

U.n{'l'e¢§ 5-§12;§'¢5 Suprcme flour-f A`¢<l no~t' mean wha.+ §~§' plm`n\~{/ qa.fcl fw
in s A. bJ r 1` `r_' 'n -H-ua

'§/J¢e+awn DL`§-&w§c,:(; o£ Al¢g{;§g C¢.LQEEQQ_ exce'¢;¢le.¢l_r"-§»s own wmv€+¥by_

l‘v\/LPGS¢IAS mul+i‘ple. fam§l~men+s per §SI+‘B CCE_ mm=§ ;+s les€er‘ L'n<»_lu,LgL

§ 346 Conspfra_cy CC£ Pre&l`ca,+e, opper/1515 ..

 

Co~' CLu§;m\§

 

 

 

 

Fc)r '§”§'~\e_ reasons S-Lnl»€<:§. herein ‘§"§ne, Cou.r+ s|np\,\,lq§ gram+ Br+e,r”S
FQYME.Y *`Ol-D \-AW " Rv.l<: 136 C=»~J Mp-\»c`¢m a.r\¢§ sE.:I' a$i.s§e. his senécnc¢
q,s +o_&u_v\+ ‘31`~[- ap -H'»c’, §nAIc-&Me,n+ §,n ~Hn£€ C.Q,Se.

 

f?gszpe"c_+¢`u!l}/ 51¢&)»-/1('%%&[ -H».is AAF/.o»é` Fébma.vy ial'z.

 

h€/?Da‘Lj/~/

_ ¢zo. 00611*0%3

 

 

 

 

 

 

 

 

 

 

 

 

5
Case 3'85-0r-00067-Rl\/ Dnmlmpnrm l:ilpd nQ_/nQ/l_v pa

 

 

 

`PYOC_)‘F op SQ_Y Vic€

 

I[. \/Ja_\}n€. Fg*"_+é,¥£ -H'\€_ MWAE.YSIZY\~&J cer+b-F?/ H\q_f Om ‘an-‘S c\.a_:,¢
of Febv‘mv\¢/ 10{'7’, '.£ LDfa,/€¢L ana cog?/ af Mr>+ivn `Ta C¢rn»¢;+ I{fe§a.l
Sen£'e,n¢e Vu.rs:.¢m\+ ~!-o “"m.D L»Q\,J”R.,`_le 35 (o_d acUre.sse¢l A_§ §L/lows: `

 

_ jerry \»J~ /Vl"![€r
A§§ls+M-t' unde¢£ gabst A+Mrnw

Fl¢»vm 194; J%OI §*“'€9'£' T‘?Je 51’1‘¢€:+
cynvv~fo~}+zi/\/a\'%h faro/:m 23 101

 

gi,jV_/,p,_ ppé 22~»4¢ ;
;i ,

 

 

.~.Lenee¢ Hi§£.
P.’ 0.» B'vx 799 0
F‘iorence, 610 8112.6- 7000

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CF)QP S'SE-rr-OOO€%?-Rl \/ Dnr~umpnr 91 Fi!nd 03/03/17 page @Tm_= 14

 

 

 

s _ _,u”_r . we _ ,r § inn __u_ § ‘ 7 q
§ ; , ‘ VLLLL\..»LL _§Li],u;$§ ulsmct | Ol]l,.l lO-l:-_.
__ LIBD_LE_QTBI£L<LF_FLO§_DA
JAcKSoNvILLE DIvIsIoN `“"*~-~+_a.ar

pocr<sr No._I-~ \-BLlQ_Cr:J;M..\`_"-|
' "' ' -. _l_¢-\.'- »"1‘.

  
   

    

   

   
 

|n the presence of the attorney for the government _
the defendant appeared in person on this date

 

4
)UHSEL ;_l W|THOUT COUNSEL However the court advised defendant of right to counsel and asked whether defendant desired to have
' ._ ' counsel appointed by the court and thedefendant thereupon waived assistance ol counsel.
tlowmmmmw.gjg@ML&m@;ULmiQuhu%EuWL_ ______ ______ 4
[Nameo Counse) '_
JLEA l_.X_r curtrr,andthe courrbeingsarisfiedrhar l____rNoLo coNTENoERt, L__rNoT curttr

there is a factual basis for the plea,-

l_._| NOT GU|LTY. Defendant is discharged
There beinga finding/verdictof '

L_] GU!LTY.

n . .
JHG€_ States, conspiring to possess with intent to distribute a quantity
=HE"\ fully ana knowingly possessing with i

, marijuana, as charged
in Count l, violation of Title 21, U.S.C., Sec. 963, Count 2, violation of Title 21,
i U.S.C., Sec. 846, Count 3, violation`of Title Zl,U.S.C., SeC. Bél(a)(l) & TitleJlB, U_S_
~ C., Sec. 2 and Counts 4 through 16, violation of Title 21,U.S.C., Sec.BAJ(b) & Title 13,
\ ?Hesc'ogr'l ask§§ E'Fretge'

r defendant had anything to sa\,l why judgment should not be pronounced Because no sufficient cause to the contrary
was sho'nrr, or appeared to the court, the tuurt adiudged the defendant guilty as charged and convicted and ordered lhat: The defendant is
herei:r\,r committed to the custody of the Attorney C»eneral or his authorized representative for imprisonment lot a period of FIVE (5) YEA'RS

rams on Count l, TEN (lO) YEARS on Count 2, FIVE (5) YEARS on Count 3, and FOUR (4) YEARS
33 on each of Counts 4, 5, 6, 7, 8, 9, 10, ll, 12, 13, 14, 15 and 16, sentences imposed
meH herein on all counts shall run concurrently and the defendant shall become eligible

DEB for parole under Title lB, United States Code, Section 4205(b)(2), at such time as the
parole commission may determine. `

IT IS FURTHER ADJUDGED that a TwO (2) YEAR s ecial arole term is imposed on Connt
3 to follow the term of imprisonment, in accordance with Title 21, United Scates Code,
Section 841.

 

.C|AL
lTlDHS
lF _ _
ATlUl'l '
\
§
§
UNAL |n addition to the special conditions of probation imposed above, it is hereby ordered that thE general Conditions of probation set out on the §§
}'|ONS reverse side of this judgment be imposed The Court may change the conditrons ol probation. reduce or extend the period lmtion, and §§
2 at arrv time during the probation period or within a maximum probatron period of five vears permitted_,$tv law'.qr‘r`i?./l_si; §§¢.lrrant and.
\T|O,\| revoke probation loravio|ation occurring during the probation period j `__,__',s_-._`_ _i'_\_ ’ "_.,l__ '-'. -. l _ \.'
_! \'\ '_-.

 

_ 1 - n .__. .
>The court orders commitment to the custody of the Attornev Ceneral mgic om]rnends, lt rs ordered that the C|erk deliver

MEHT cardiac evaluation upon arrival at the designated insditution a T""de°”'d‘T’FM€mEM
~ _ n _

::H' and_such treatment as is necessary, Court further recommends saw;?;Lne':';::|l"‘i:dto:"":jMa'
commitment to the Federal Correctional Institution at CGW._,, _?h.. l r_ .'¥

_ 1 § -- '\---..'r §\' ...' l }'.' :._",_r"'_'___¢: ,'f.('t _;{__~ -

J Lexlngton, Kentucky. ;‘ cna?n:g Co;y aj n
r ocasio ca crussnono. clark

l' l ., '»'- `-
dnsic@ S.auoa cht"

- .iot court-
kid’l- Dlutri~t f “ w
PMO~WJ.U. \rl “mrti;l;» “ green
J 5 M.lqr$:nte . ,.!,

ease 3:35-cr-00062-RLV ogg_pmenr;zlz,FieatOBiOet .__N§@C__ .....7... 1/

'[‘._-.-.-.4-._ n-r- -

 

 

15 Drr."rr_t lodge

   

 

 

l , UNITBD STATES DISTRICT COURT
l FOR THE WESTERK DISTRICT OF NORTH CAROLIHA
CHARLOTTE DIVISION .

 

, nassco stress 0= snaeics, pocket No. '
Ptaintiff, cH-cR-ss-ez
2
-vs-` Charlotte, N.C.
3 October 23, 1985

WAYNE PORTER, TERRY

4 ALHEDIA PORTER, EARL DEAN
JOLLY, THOHAS LEE BELL,
5 LEWIS GRBG BARENTINE, JAHES

HBNRY HAHD, AND W. T
\5 PETERSOH, aka PETE

 

 

 

 

 

7
_ TRANSCRIPT_OF JURY TRIAL
g {HOTIONS, OPENING STATEMENTS, TESTIHONY,
_ CLOSING ARGUMENTS, JURY CHARGE AND SENTENCING) ,
g BE?ORE THE HOHORABLE ROBERT D. POTTEB, with a jury
to .
APPEARAHCES:
n
For the Plaintiff - Hax O. Cogburn, Jr., Esq.
12 Assistant United States Atto
Asheville, North Carolina
13 7 `
For Defendant W. Porter - Harold Bender, Esq.
id ' Cherlotte, Norttharolina
15 For Defendant T. Portec -

 

 

9:00 o'clock A.M.

\_.'\_l-\_¢~_¢-_¢`,V\.J\__¢`_¢-_J

VOLUHE VIII

tney

 

 

 

 

 

 

 

 

 

For Defendant Jolly

 

19 For Defendent Bell-
19 '

 

20

2' jFor Defendant Eend
l

r
l

22

23 “

25

CaS€ 3285-Cr-00062-RLV

ij _.
l For Derenoant Peterson

-_ Keith Stroud, Esq.
Cha:lotte, worth Carolina

- James.A. Everette, Esq.
Elkin, worth Carolina

Atlantar Georgia

l l
/For Defendant Barentine_ju_Hen Gordon¢r£sqte

- William Shepperd, Esq.
Jacksonville, Floride

l

Jeff Rupe, Bsq.
Charlotte, North Cerolina

Ssts'.\ £. E::-:
s'r.::tl. ::.1: -r."-:rl-'¢l
u. s. &':.'l;:: :a.'t
:¢n.::rc. a- f-

Document 21 Filed 03/08/17 Page 3 or 14

 

 

 

 

 

 

 

 

 

 

 

 

ii
'l

ll Case 3: 85- --Cr 00062- RLV Document 21 Filed 03/08/17 Page 9 of 14

j;z's~
X“`L§' 7`
HR. COGBuRN: Yes, sir.
l COURT: All right, Hr. Bender, what do you say ab§ut
2 that? l `
3 .
MR. BENDER: Your Honor, I think it has to show
4. knowledge of his guilt of this`Indictment, of this crime. Not
5 something totally unrelated. l l
6 COURT: Of this crime, now what crime are you
7 referring to?
: HR. BENDER:. Of the lndictment, what he's charged with
m _ in the Indictment. '- 7
1’ MR. COGBURN: This reverse started in Hay of 1932 If
12 they had never done the stings, the conspiracy would have been
13 complete right then when they were doing this first activity
14 dfrom Hay to June testified about_by Rocky Townsend; and then it
45 culminates in July and an indictment chargimi:§:tg_ip§§ihyll
is cover July on this, Your Honor.- -I have no problem at all witnd~
lp that Thi: conspiracy went_up through and until the stind."
la And he has pled guilty to its and we're relying on it as a
19 predicate offense under CCE.
ri§_l~ WsWe-got 7--rnore-that‘irct"~~*h::ee'; we*got a lot more than EHYH;m
21 _we' re relying on that conviction as one of the predicate
22 offenses.
23 COURT: He was convicted of this?
24 l HR. COGEURN: He came in and went down to Jacksonville
25 iand ultimately pled guilty in Jecksonville, tlorida, to the

at':=.'t'

=`¢: '.t !l.

:H:\‘_,'._ ;;_:1

U. >. ;tl :1
Cl'll. lrl.

§§ -.'E
rr. ¢.

 

 

 

 

 

 

 

 

 

11____._._____.__..___.____._1 tirirt.tTNri"_-di- t_ C_CR_BS_BZ_O]*U

. r
,\1~\1,#-:!, .\~-\.~.r.r - ,‘

 

 

 

: _HCE 841(a)(l) d 18 USC Section 2, as charged in count

mg of cocaine, a Schedule II narcotic controlled substance,

 

 

ll ' -_' ,. . iv n'l'm,.' 'vl' -`.‘- l‘.-:L'- :q_'r."?- rll : '..' ' ii 'll' l ' ";""T`-" "_"T-'r`”l~>“"l":'lT-j'ji'-_` li»"- i'j. i:'..r'.‘.‘-- ' ¢- \'.'.- » -' el ""'".'"
Miliiiiiiilii"iil~irii@ii»iifilili./aiifii iii-isniii.ird ig_;-_i_i
q_ l-:\ ll'l ll'lf' f\|’t'.‘\f'f'lfl." Ol ll'lt'\ alln.rn.'i\l..' fnr !lws- g_n-»c-l-n`r-_-_`_H-: Mu`\_nr had
_ the defendant appeared in person on this dale .l'
- November 6, 195

 

 

QUHSEL -_; ___I W|THOUT COUNSEL Hnwt-vt~r Ilrr» rcrriri advised rir\lr-nd}\ni nl right fo.tounsi'l and asked vihr-|'l?r rl erh'--b -_D in |;

roun,tr'l appointed bylhi.i court`and the defendant thereupon waived assis'CH '
[ _ _ y ARLoTT.-E, N. c
_ MX ¥VHW{COUNSEL L_ Harold J. Bender, retained

________-_____________________________-

fHarnr- of Co'ur\st-l] .-___-____.__' _______
1 i ar an 1985
PLEA l___J GUILT‘r', and the court being salisfiedthat L.___lHOLO CONTEN`;DERE_. L__IX NOT GUILTYl

there is a factual basis for the plea,_ _ !_]_ S D[STR{CT COL_'"

W. DlSl'. O'F N ff
`___`\ . '

;_| NOT GUlL'l"r'. Defendanl is discharged
Thei t being aI"£ZiFS,§ ".rerdict of

1 ¢lLJGU|UW. by the jury as to counts 1,2,4,7,8,16-19,2é~29 5
i')efendanl has been convicted as charged of|he offense[s)of` 1 " ' '
k Conspiracy to possess d distribute more than 1000 lbs of marijuana, a Sche
narcotic controlled substance, & 2 million methaqualone tablets,
tic controlled substance, in viol. of 21 USC Section Béb,
sion with intent to distribute more than_lDOO lbs of marijuana 5 aiding & abetting ii
same, in viol. of 21 USC Section Bél(a)(l) & 18 USC Section 2, as charged in count 2:
possession with intent to distribute methaqualone & aiding & abetting in thc same, h
of 21 USC Section Bél(a)(l) & lBlUSC Section-Z, as charged in count &; distribution t
_'\ marre...uiam ano.i).. iba..n£= rmai;i',jiiiiria._<§. aidiiis-.rirr necessities ,iri.r,tii._e.,,sarpe_,_, ;i,p“ir,tq,im ri_t gi,,tisi;.,.,=

i-\at slrti\\n_ or ar»r-t-air'd tci thi» criurl, the court adi-irls_ri-d lht- defendam goiliir as charged and ¢¢.ntr¢
lir-'rr'l:ii. committed to the custod'~ til thr- Attt_iine\ C.enr-ral cir his authorized representative for imp--

Jil~lG dr
GHEHT .

the indictr
dule l non-
a Schedule ll non-na
as charged in count l; post

lr'd and tirtlt»rr-d that Thi_- tli-li-ri_d-.rrr
-ci_nnieiit_loi n‘rir-iiod of -

.7; traveling in interstate commercr
n P_promote an illegal activity, in viol. of 18 USC Section 1952¢ as charged in counts 8

srmH and 25; conspiracy to import, possess & distribute more than 1000 lbs of marijuana &
-in viol. of 21 USC Section.
as charged in count 16; conspiracy to possess & distribute more than 1000 lbs of man
in viol. of 21 USC Section Béd, as charged in counts 18 6 2&; conspiracy to possessi
distribute marijuana, in viol. of 21 USC Section 846} as-chargcd in count 19; usingi
communication facility in the commission of a felony drug offense, in viol. of ll'U$

 

 

 

`?£;' Section 8&3(b), as charged in coudts 26-29; and engaging in a continuing criminal
, 5 enterprise, in viol. of 21 USC Section 848, as charged in count 34 of the Indictment
.Trorr' . - ` " `
Counts 10-15 and 2l-23`dismissed by the Court per Order-of 10-17-851
Counts 3, 5 and 6 dismissed by the Court on 10-23-55. `
. ' (continued on next page) _
).fAL - li'l E‘.'ldi|itin fn thr1 stit'_rial conditions cif prcrli.=.rrc\r\ rmp.--=r-r| .=_|-;\t-¢-_ li lt i,._-.r_»!,` ¢,rd.-,[-d thai li,,- ,_...n¢._.a[ c,_,,-,a_,:,,_m\ ,_,1pm_r,l`.___n__,n,l__.!_,,_:
lOHS lt'\.°rti E-lt‘lr r\il |l'tr_\ |t.ltl|_;"irt\i'lt br- lmri:rt!-d '|'l\r- (_'rruri mm char-run ihs. Um:l|-_,,_-m\ of nr¢,h,-\l,¢:.r-t' ,¢_.‘-fur,_. c_, t.`:,,,,:| |h‘ c,{_n,_,:_¢ ,_. l___,“\___.,h,_ f
al 5"‘\ l"“" flir""lF ll\'-' P"Ol"i".l'f'f'\ r.'t'rii‘itl or virll~iin a n'a\rr:'.'u"ii tircihn.'rnii pi:.'iorl nl li\r\ \,tr'.'= iii-rrrniti-d t-\ |a\-. mar i-r..-i .1 \-.r--.i.-.: .r
` [l[lli it'\ ol». tr rirr.il-.ilir,rr\ for z \-ii:ilalrc-ri csi rrrrrriig during the prrrh'.'tlrrrri i_\rirrr_rci ` _
P'T|ir' court orders conrnrilmr-ir: lri I|ir' custody rif r|r-_- )‘-.':r-rnr-\ Cpnpra| aii:f_ir-ttirr:rrrendi tr ,. l..¢;'rr. rt r|..r: ". rr.-.'. ¢_i, r._..
lEHT B l.'!"'l|'ll"('l {U{\\ Dl [.lr|' [ur!,-_i-.r.-;-
lEH- _ anrl crii‘inir:rrrt-n: tr- ¢|.i ‘.' § .\'.,-r
h'

 

 

 

\li-i| ti-' n!lii-i uti.i.l-irr-:.' r.-iiii ri

5 ihii~rriaa¢s .

ga
5 F~ldpr\'.ra|ri

ROBERT D. POTTER, Chief Judge wm";l November 6, l985

 

 

Case 3:85-cr-00062-RLV -Document 21 Filed 03/08/17 Page 10 of 14

 

 

__,;_. writ i.i 1 r-iri --i"*"- L._____.__§:CF\:B§.*§Z';Ul.-.

     

‘.'-..._.,._-_--.¢-_n._..____
' ~“”"\' lii thcl presence of the attorney for the government ‘ `

the deft'iirfnrit =p;tc-;;.'\ ._i' iii pi r,\un Uri ltii_s date .__`

sir .i'.' t ti `_“"m_t___`__

  
 

a November

    

5.

 
 

Hoi.~re\.-i-r the cetirt advised d

|UHSEL L__.f 'WlTHOUT COUNSEL
` ` CDurtsriap;i':iir-ttpd bottle cnw

efendant of right to counsel art

d asked ui\t-lhr\r defendant dr-.\irei
t and the defendant thereupon v.-

aived assistance of counsel

-J L"___in'iTHcouNsEt t

_______-____________L-_»______-_-__

-__-__-_.
0

__________-_____________ - L
tNarrie ofC untef] `

lLEA l t___fG__UfLTY,andthecourtbeingsatisfiedthat l____tNOiLO COHTF.Hi)ERE,_ f___INOT_GUfLTrtl

l thereisa factuaf'basisiort`hep|ea,

L.__l NOT CU|LTY. Defendant is discharged
Tt-,e,'e being a finding/verdict of

L;__i GUII.TY.

DE.{E,idant has'been convicted as charged of the offense[s) of

)iHG &
§HEHT

 

(continued from page 1)
w Thi- court asled whether defendant hart anything to

sa'i \~.h'.' judgment should nut be pro
nas shri\tii_ rir appeared tci the court, tht- court adti.i

der-d the defendant giiiiti,- as rhart:l
hereby committed tci the ctr.<todt'c\f the Attcirne\ Cerieiai_or his authorizedrepresentativef

L`.E` Count 34: SEVEN'I"r.'-FIVE (75) YEAR.S. `

1l1mH Sentences imposed in all
M imposed in count 34:

count 1: reiterate (15') YsARs;

Counts 2 and 7 merged for sentencing: FIFTEEN (1§)1YEARS,
sentence imposed in count 1; - 1-’

mounted Bi'ra-.tse nr`-' sufficient catt'.i m t|ir- rn-::r.: !
-d.arid con\rctecf a'nd ordered t|iat `ihi- di-.'r.-rida-":
or imprisonment for a period of

_i.

of the following counts are to run concurrent with the sente

to run consecutive with th

Count ¢: FIVE (5) YEARS, to run consecutive with the sentence imposed in counts 2 an
iriL \‘, r . - . ; . - 1
.mHS ag plus -a four (4) year mandatory special parole term due to a prior convicti&i;gaturs
Cdunts 8, 17 and 25 merged for sentencing: FlVE (5) YEARS, to run consecutive with t
'TmH‘ sentence imposed in count &; ' " "

. spent 16: - rrrrssii (13) rsans,'
17 and 25; `

Count 18: FIFIEEN (15) YEARS, to run consecutive with the sentence imposed in count
' : ' ' ' 5 0 t "
-r.-r..i atlanta .r,lii'.;i.s.tis‘.i?fi...tiatesi .,.f..€r.t.-.,esii.tsa:-:trap ,. Ei.i.’.t._.f_§.?i...iitfii= i.rt,..initr...&att.sra“ii.iii.’s..t~t.tt,...fini..
ir-\i-rv.i \rr‘.i rif ||ii\ jur|'_r.'ni-nt }ir- iitt¢it-\r- t.\npr [li- iri'~r[i:ir'in\. cii' ;r.':i!-.'.lrr_"-. rediti'f- c-r r-\tr-rttf titt~ rtt'ritirtl r:i!' pri,il¢.'t:rr-r. .-t'“-'
nl art\ iiir--' durrnl_‘ tiir prrii' .'i~ii'iitrni prr-l»i.~_:¢r\r- perian ni t`i\r- \r,:ir
lt'\t'i£_]"

\ pr'rr'trtti-ri ii\ la\\_ rt\.'r\ i'.\.i.i' .‘ \'.n'l.trir ,'t"t' :
\iu!'i_t!.r\n¢;t-ririd - '

to run consecutive with the sentence imposed in counts

 

ii iiir (':ir_::t r:‘.a\ ri
-.'t|_-r,iri perian m \ti:iiin a en
r_r{ .itirrr. icii .i \i¢ii.tl.rr:irt c-i rurriiir_' cf\iririt- |li--[

 

~ *`Tht' c_c_i-\.-r: n'r_t'r_-r_~. coinnir:nierit to tiii

__-. -_______ ______

 

'ctistrii:it r_it` lhi-.-‘i.:trtrne\ C`,er\r-r
sentence imposed in count 185 a w~uwdrmnrn:u¢anmwv

Counts 26, 27, 28 and 29 merged for sentencing: FOUR (é) YE Stirig§nepnherd~trus*evd :
to run concurrent with sentences imposed in counts l,2,d§ ’“HLFLSLP&HHIL£LLELDLLL

7,3,16,17,18,19,24 ana 25. U. s. stricter saint l

' Trones J. HcGraw, Cler i

t'rr-}!er,e;.»-?§)ist;.' or ii. c. '

itt\tr,¢¢|,_,._[}_.._ ' - ny l - c\ 1{->'_)(,;!\{_\ . l
l

&_;_'. ` l .T l\
5 ri.ii=-~ir....- E_ , _ ' _ - _ l _ }_i)i.[§i€; Cle.ra
ROBERT D. eor't'att, chief Judge (,d,, _N_Q__g_b__r__s, 1955 ," _2)_\_;\\`_. '

_ __.__--._____. _
it r- c.'ci'-ri't| l|-.'t ii._-- t'|i-rf. t..-.;-i.-

      

   

 

 

,

` \
` ` ‘ \
Case 3'85-cr-00062-RLV Document 21 Filed 03/08/17_ Page 11 of 14

n

     

institution

F`CI Asi'iland itegtuciry ` 5 .' :

l
s .rir
ii r-

li' you have a presumptive parole dotc, any ilJC actions referred to iii this report will be considered b
basis for possible rescission oiyoiir parole dote. Yi:iu mritr present ducuiiicnia_ry evidence
iii mitigation ol'your iiilsconiluci, and you may request to review all disclose

y the U,S. i’:iroIc-Coiiiniissio;i as a
(iiii;iuiliug voluntary statements of witnessés)
bic documents that will be considered by tlii= Coritriii_.".'sioii.

' Imimte`Rcv|civer.l and/ur itci:civi:d Copy:

lJate

“%g;’:l‘=&"-§l~-__ , __._2'_-._,{;!£. l' fs`w¢\grls;m - ‘

 

  
 
   
 

l. -Typt= of i’togri:rs l\cpoit.' ` , ` -

initial: --__'________ ; Stalutory iitlcriii't:-_.._________; I'ie-ii.cleasc: --_________-__ ' ,'_
'i`rarisier:.__xx_______ ; Otlicr(spci:ll'y): --_________ _

1. N:i.iiio:
PORTEH, lriayne

---_________-________l __l _ _ _
.'.i'. Prl:st:nl Sr:curiiyf(.ttsiody Lr.'vc: l

l 2/IN

6. ()i'fi:riso: 7 _ '
Conspir'acy to Iiiipor't'. Ma
Facility to Facilil:at

____., a:'a=_"-'_'il°_"_?__

7 Sc tonl:c: il:_ uten't_-t-Q-DLS-l'-|ll_bl- -r
' 0 !ear's iZIOBliB CCE),- 75 Yeae_s lEt_-BliB .CCEI);

  
 
    

    

 

 

 

 

 

   

mcp No:
00622-0¢¢3 lCl

4. Agi.- ttJUl.ti:

36 lOl -22-50l

 

 
 
    
 

 

 

 

 

             
   
    
  

 

Concur~eent to rif 1,' li Yeaes SPT

9. |'-lonllu Servci.l: - " 10. D:lyl l;`_Gi':

 
  

   
 
 

 

 

 

5. 'Si:niem:o Degan:

 
 
   

 
 
     

  
  

 

 
  
 

  

07-02-34 20 nonchs + 107 baer 62
lt. t):i;r.r l-'Ci`i'/‘r'i'(}`i": il. 'i'=ruiiiro Iti.-ir::i.tc: t3. - Li:st Ciiiii tissliin r\i:iii)ii |)aiu: ' .
, _ y - usa dared‘oa- t-a' with P.P. 12-22-56
O/O 03-0'!-2028 not appl.icable, sin "
CCE .

  
  

 

 

14. Doiainers/'i‘eniiing Cli.'ttgr:s.'

 

 

i`tEFJ£i'i[i.- ' "

Ther'e were rio known co-det`eridanl:s.

 
      

 

f.)'lstribuiion: Ori`giria'l- initiate Ft'ie;Copics lo U.S. i‘rohatiuri Dl'fice, ' ~'- -

i‘

i’arolc Ci:iinriiission Regional Oi`iice, iiirii:ite ' - \ `

v n 0 t o - C 0 v V C 0 M P L t T t u' F 0 n it § 3 C g . A n -
- 1 ri h th hra - _
. ' - t fgt.‘r@t)l{‘-Gul:"a`q 'HE \IY

\. ..1§-1.‘?'_'..'_1 i.|llL` E‘l_uki"’:(.'lniss_J-_ _

lB.

______ .....,, ..nr ":z ` "S)

, _ unirto starts uEPARTMENr 0F lusrtcE
` _ _' auatau oF Pmsons

» § _ reassess nEPoRr t
rcanunuser `

Nanw: POHTER, Wayne "Reyna Numbmr EQ§ZE-OHB'iCi Dmer 03-06-85

summary of Frior Progress heports: Porter's only prior progress report was completed

_ on 07-29-85 at FCI, Lexington, Ky. While there, he
satisfied all mandatory ABE requirements and enrolled in the GED studies. His work vapor
showed steady improvement once he received a job change to orderly. He maintained a fau-

orable relationship with staff. Porter maintained clear conduct.

New Information: On November 6, 1985, Porter received an additional 75 year sentence fr

the Western District of North Caro na. s sen ence_ s a _ 45_
Hith his prior sentence,

J

Cor)tinuing Criminal Enterprise sentence, thus non-parolable.
Porter has a total of 79 years, with a projected satisfaction date of 03-07-2028 via

Mandatory Helease. `

Inseirutional Adjustment=

At Mr. Porter‘s initial classificationj he was programmed for GED,
Vocational participation. He was assigned to a job in the Power Piant

He requested a Job in the Recreation Department.

a. Program Plan:

b.' work nssignments: ` Porter's work evaluations from the Power Plant have reflected
_ marginal performance. However, he has received outstanding

evaluations from his Education supervisors.

 

 

 

e. Educati6nal%46eatienaL-PaFtisipatien+___£onten_is_pantiripating in the GED program.

t 1 He enrolled in the program November 18, 1985
and continues his involvement to this time. He has received outstanding evaluations
from the Education Department. ' '

_Porter maintains a positive relationship with staff. He
always approaches staff in a polite and courteoup manner.
. t f f

e. Incident Reports: Porter is not seen as a management problem. ltie has maintained
~ , clear conduct since being in federal custody.

` Porter has not participated in any community programs.

d. Helationship with Staff:

 

f. Community Program Involvementr

 

 

g. Institutional Hovement:' Porter was designated to FCI§ Lexington and arrived there
. August 6, t§Sa. He was redesignated to FCI, Ashland, Kentuckt
while on writs He arrived at this institution on 11-18-55 and has remained here since
that time. , t

Porter reports he suffered a heart attack in 1980 or 1981.
He was not under.a doctors care nor was he receiving any
medication prior to his incarceration. There is no indication that he suffers from
any significant health problems at the present time. Porter does not seem to be
suffering from any psychological, mental, or emotional problems. He appears to be
functioning within the realm of acceptable behavior.

h. Physical/Hental Health:

'“d

i`i""r""l pitt ‘-
;-:J . r. r .-.':.'r L__-,,L=

Case 3:85-cr-00062-RLV Document 21 Fl|ed 03/08/17 Page 13 of 14 \r

,,,l in ! 7 l
wl n " `\|r.i`
_ unnao srArEs utPAnrMewT or JusncE

` - euntnu oF anons

 

enuentss nEPonT-
re=nnnusur `

Name= POHTEH. wayne nasser uamterr 00622-043 th

 

user 03-06-36'

 

19 . Helease Plannning: 1

a, Hesidence: To de_secured through CTC in the Hilkesboro,'North Carolina area.

b. Employment: To be secured.

c- §§ggi ` E. nash narrth, P.o§ sex irr. 213 rederat auiiding, 207 west nain sereee;
Wilkesboro, NC 28697. -¢ z

   

Dictated by:

    

,;__. pate ai¢rheea= 03-06-36
M.L. L ns, Case Manager

Heviewed by:

Date reviewed: 3---§_¢?@
P ul Helo, Unit Manager l

 

 

pate typed= 03'05'56 n n l :
s
/ r
}
: "-'|.="f".‘i"': ""‘-` c
-{-`-r.§t =i ii z‘- § rep r-~
---. .=r'r.-',r..t~':'

~ h
. t _ _ `\
Case 3:85-cr-00062-RLV Document 21 Fl|ed 03/08/17 Page 14 of 14

 

 

 

 

